                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF VIRGINIA
                               ABINGDON DIVISION

UNITED STATES OF AMERICA                       )
                                               )
       v.                                      )          Case No. 1:20-cr-00046
                                               )
BRIAN PARKS                                    )

     MOTION TO PLACE UNDER SEAL EXHIBIT 1 TO THE UNITED STATES’
         RESPONSE IN OPPOSITION TO DEFENDANT BRIAN PARKS’
            SECOND MOTION FOR COMPASSIONATE RELEASE

       The United States of America moves for the Court to order to be placed under seal Exhibit

1 to the United States’ Response in Opposition to Defendant Brian Parks’ Second Motion for

Compassionate Release because it contains personal medical information of the defendant.

                                               Respectfully submitted,

                                               DANIEL P. BUBAR
                                               Acting United States Attorney

                                               /s/ Randy Ramseyer
                                               VSB No. 33837
                                               Email: randy.ramseyer@usdoj.gov
                                               Tel: (276) 628-4161
                                CERTIFICATE OF SERVICE

       I certify that on September 22, 2021, I electronically filed the foregoing Motion to Place

Under Seal Exhibit 1 to the United States’ Response In Opposition To Defendant Brian Parks’

Second Motion For Compassionate Release with the Clerk of Court via the CM/ECF system and

I mailed a copy to:

       Brian Parks, Reg. No. 18545-509
       Butner FPC
       P.O. Box 1000
       Butner, NC 27509

                                                 /s/ Randy Ramseyer, VSB No. 33837
